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                                                                            IN THE DISTRICT COURT FOR THE UNITED STATES OF AMERICA
                                                                                          EASTERN DISTRICT OF MICHIGAN
PERRONE LAW PLLC (517) 719-4657 – 3310 KRESGE LN., EAST LANSING, MI 48823




                                                                            THOMAS LINDERMAN,
                                                                                                                                 CASE NO. 25-CV-
                                                                                                   Plaintiff,                    HONORABLE:
                                                                            v.


                                                                            STATE OF NORTH CAROLINA
                                                                            NORTH CAROLINA STATE POLICE

                                                                                                   Defendant.
                                                                                                                /
                                                                            PERRONE LAW PLLC
                                                                            Jacob A. Perrone (P71915)
                                                                            Attorney for Thomas Linderman
                                                                            3310 Kresge Ln.
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                                                                            jacob.perrone@yahoo.com
                                                                                                                __________________________________________________ /

                                                                                 PLAINTIFF THOMAS LINDERMAN COMPLAINT AGAINST
                                                                                 DEFENDANTS STATE OF NORTH CAROLINA AND NORTH
                                                                                             CAROLINA STATE POLICE
                                                                                                                __________________________________________________ /
                                                                                                                         _/s/ JP__

                                                                            There is no other pending or resolved civil action arising out of the transaction or occurrence
                                                                            alleged in the complaint.

                                                                                     NOW COMES THOMAS LINDERMAN, and for his Complaint states as

                                                                            follows:

                                                                                                    JURISDICTIONAL ALLEGATIONS
                                                                                     1.    This action arises under 42 USC 1983. Jurisdiction is conferred by 28 USC 1331,

                                                                            1343(a)(3), and (4).


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                                                                                   2.      Plaintiff, THOMAS LINDERMAN is a resident of the County of Macomb,
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                                                                            State of Michigan, in the Eastern District for the United States of America. (hereinafter referred

                                                                            to as “Plaintiff” and/or “Linderman”)

                                                                                   3.      Defendant STATE OF NORTH CAROLINA is a Municipal entity.

                                                                                   4.      Defendant NORTH CAROLINA STATE POLICE, organized under the

                                                                            laws of North Carolina. (Collectively known with State of North Carolina as “Defendants and/or

                                                                            “NC”

                                                                                   5.      When the events alleged in this complaint occurred, NC officials were acting

                                                                            within the scope of their employment and under color of law when they required Linderman to

                                                                            continue registering after his conviction was expunged and he was removed from the sex

                                                                            offender registry in Michigan.

                                                                                   6.      Venue is appropriate under 29 U.S.C. §1132(e)(2) and 28 U.S.C. §1391(c)

                                                                            based on 1983’s nationwide service of process and venue provisions, because Linderman

                                                                            resides in Michigan, does business in Michigan, and because the registration requirement was

                                                                            derived from a Michigan criminal offense that no longer qualifies for registration. Finally, in

                                                                            light of the sensitive nature of the issue, it is Linderman’s desire that the case be resolved in the

                                                                            State of Michigan where it is more likely his privacy will be preserved.


                                                                                                             FACTUAL ALLEGATIONS
                                                                                   7.      Plaintiff incorporates by reference prior paragraphs.

                                                                                   8.      NC is also liable because of its policies, practices, and customs, which led to this

                                                                            complaint of violation. Specifically, its policy on not removing people from within the North

                                                                            Carolina Sex Offender Registry Act. (“Registry”), that are no longer required to register.


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                                                                                    9.       On or about June 7, 2023, Michigan expunged Plaintiff’s offense underlying the
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                                                                            registration requirement and his registration in Michigan was discontinued as it was declared

                                                                            unconstitutional. This Michigan conviction was initally used to require Linderman to register

                                                                            when he moved to North Carolina years ago. There is no longer a basis to require Linderman to

                                                                            register.

                                                                                    10.      NC’s reporting of the Defendant’s registration and the actual registration

                                                                            requirements are lacking in any substance as the alleged conviction underlying the registration

                                                                            requirements is null and void as he has been removed from the Michigan Sex Offender Registry

                                                                            (“Michigan Registry”).

                                                                                    11.      Linderman has repeatedly tried to contact law enforcement to get the registration

                                                                            requirements removed because it is a constitutional violation to continue to classify and report to

                                                                            the general public that he is a sex offender.

                                                                                    12.      NC is either intentionally, negligently, or recklessly reporting information that is

                                                                            incorrect regarding Defendant. The stigma has caused Linderman to miss out on opportunities that

                                                                            would be available if he were properly removed from the registration and reporting requirement of

                                                                            the Registry.


                                                                                                    COUNT I
                                                                             FOURTH, FIFTH, AND FOURTEENTH AMENDMENT VIOLATIONS
                                                                                    14.      Plaintiff incorporates by reference prior paragraphs.

                                                                                    15.      Linderman’s constitutionally protected rights that NC violated include the

                                                                            following:

                                                                                          a. the right to liberty protected in the substantive component of the Due Process
                                                                                             Clause of the Fifth and Fourteenth Amendments, which includes personal safety,
                                                                                             freedom from captivity, and a right to medical care and protection

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                                                                                           b. the right to fair and equal treatment guaranteed and protected by the Equal
                                                                                              Protection Clause of the Fourteenth Amendment
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                                                                                     16.      NC, acting under color of state law, established a special relationship with

                                                                            Linderman, giving rise to affirmative duties on its part to remove Linderman from the Registry to

                                                                            protect Linderman’s constitutionally protected rights identified above.

                                                                                     17.      NC’s violation of their affirmative duties, their intervention in preventing

                                                                            Linderman from being removed from registry, and the delay caused by their desire to require

                                                                            Linderman to suffer because he was previously required to register. The failure to remove

                                                                            Linderman from the Registry is a direct and proximate cause of the subsequent deprivation of

                                                                            Linderman’s constitutional rights described above.

                                                                                     18.      NC, acting under the color of state law and in concert with one another, by their

                                                                            conduct, showed intentional, outrageous, and reckless disregard for Linderman’s constitutional

                                                                            rights. Further, their actions in continuing to require Linderman register, showed deliberate

                                                                            indifference to Linderman’s needs and was a deprivation of Linderman’s constitutionally

                                                                            protected rights.

                                                                                     19.      Requiring Linderman to continue registering was done with knowing disregard of

                                                                            an excessive risk to Linderman’s health or well-being.

                                                                                     20.      As a direct and proximate result of NC’s conduct, Linderman suffered physical

                                                                            and emotional injury, loss of freedom, and other constitutionally protected rights described

                                                                            above.

                                                                                     21.      NC, acting under color of state law, authorized, tolerated, ratified, permitted, or

                                                                            acquiesced in the creation of policies, practices, and customs, establishing a de facto policy of

                                                                            deliberate indifference to individuals such as Linderman.



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                                                                                   22.     As a direct and proximate result of these policies, practices, and customs,
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                                                                            Linderman was deprived of Plaintiff’s constitutionally protected rights described above.


                                                                                   WHEREFORE, Plaintiff, THOMAS LINDERMAN, requests that this court
                                                                            enter judgment against Defendants in an amount consistent with the damages sustained, enjoin
                                                                            the Defendants from reporting information regarding Linderman’s inclusion on the Registry,
                                                                            award Linderman his attorney’s fees and costs, and any other relief the Court feels justified in its
                                                                            discretion.

                                                                                                            COUNT II
                                                                                                  EIGHTH AMENDMENT VIOLATIONS
                                                                                   24.     Plaintiff incorporates by reference prior paragraphs.

                                                                                   25.     The Eighth Amendment of the U.S. Constitution provides, in pertinent part, that

                                                                            excessive bail may not be required, nor excessive fines be imposed nor cruel and unusual

                                                                            punishments be inflicted.

                                                                                   26.     Defendant deputies’ decisions (a) to require Linderman to register and report on

                                                                            the Registry although his conviction was nullified and he was removed from Michigan Registry,

                                                                            while knowing that Linderman would lose opportunities and esteem in the community showed

                                                                            deliberate indifference to Linderman’s reputation. This continued unwarranted stigma violates

                                                                            Linderman’s constitutionally protected Eighth Amendment right to be free from cruel and

                                                                            unusual punishment.

                                                                                   27.     As a direct and proximate result of NC actions, Linderman suffered physical and

                                                                            emotional injury, loss of freedom, and other constitutionally protected rights


                                                                                   WHEREFORE, Plaintiff, THOMAS LINDERMAN, requests that this court
                                                                            enter judgment against Defendants in an amount consistent with the damages sustained , enjoin
                                                                            the Defendants from reporting information regarding Linderman’s inclusion on the Registry,
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                                                                                                               Respectfully submitted,
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                                                                            Dated: January 27, 2025            /s/Jacob A. Perrone _____________
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